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                   EXHIBIT B
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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF NEW YORK

 FIVE STAR BANK,
                                      Plaintiff,           CASE NO. 6:24-CV-06153-FPG
                           V.

 KATHERINE MOTT; ROBERT HARRIS; KRM                        ORDER GRANTING SECOND
 EVENTS, LLC; KATHERINE’S ON MONROE, LLC;                  APPLICATION OF HARTER
 THE DIVINITY ESTATE AND CHAPEL, LLC; KNC                  SECREST & EMERY LLP,
 ELEGANCE, LLC D/B/A THE WINTERGARDEN BY                   COUNSEL TO THE
 MONROES; 11 WEXFORD GLEN, LLC; RCC                        RECEIVER, FOR
 MONROES LLC; NAF REMODELING LLC;                          ALLOWANCE OF
 MONROES AT RIDGEMONT LLC CRESCENT                         COMPENSATION AND
 BEACH AT THE LAKE LLC; MOTT                               REIMBURSEMENT OF
 MANAGEMENT LLC; KRISTINA BOURNE;                          EXPENSES
 TAYLOR PAGANO; TIMOTHY LAROCCA,
                                      Defendants.


       Harter Secrest & Emery LLP (“HSE”), counsel to Mark R. Kercher, CPA, Court-appointed

receiver (the “Receiver”), has applied to the Court for approval to pay fees and expenses of the

Receiver and certain professionals for the receivership. Pursuant to the Court’s Order (ECF Dkt.

No. 57) entered on May 16, 2024 (the “Counsel Appointment Order”), HSE was appointed as

counsel to the Receiver.


       WHEREAS, having considered the HSE’s Second Application for Allowance of

Compensation and Reimbursement of Expenses (“Fee Application”), and any opposition thereto,

the Court finds good cause, and so


       IT IS HEREBY ORDERED that the Fee Application is approved and that the Receiver is

authorized to pay to HSE the following amounts for fees and expenses: (i) payment of

compensation to HSE for the period June 1, 2024 through June 30, 2024 in the amount of
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$12,965.00 on account of actual, reasonable, and necessary services rendered to the Receiver under

and pursuant to the Counsel Appointment Order.

       IT IS SO ORDERED this _______ day of August, 2024.

                                                    _______________________________
                                                    HONORABLE FRANK P. GERACI, JR.
                                                    UNITED STATES DISTRICT COURT
                                                    WESTERN DISTRICT OF NEW YORK
